4:10-cr-03092-RGK-CRZ          Doc # 70   Filed: 06/14/11    Page 1 of 1 - Page ID # 225




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                  Plaintiff,               )                    4:10CR3092
                                           )
           v.                              )
                                           )                      ORDER
DAVID W. SEEVERS, and MARCELLA             )
M. SCHARTON,                               )
                                           )
                  Defendant.               )

     IT IS ORDERED:

     1)    The government’s motion to withdraw, (filing no. 69), is granted.

     2)    The government’s Notice of Intent to Request Redaction, (filing no. 66), is
           withdrawn.


     DATED this 14th day of June, 2011.

                                          BY THE COURT:

                                          s/ Cheryl R. Zwart
                                          United States Magistrate Judge
